     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 1 of 12




                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


DAREL HARDENBROOK, an individual,                          CASE NO. 1:07-cv-509-EJL-CWD
PAUL GOOCH, an individual and ROBERT
ORLOFF, an individual,                                     REPORT AND
                                                           RECOMMENDATION
        Plaintiffs,

v.

UNITED PARCEL SERVICE, CO., a Delaware
corporation,

        Defendant.


                                        INTRODUCTION

        Pending before the Court in the above-entitled matter are the competing motions

for attorney fees and costs filed by the parties, as well as a related motion to strike. (Dkt.

153, 161, 184.) The parties have fully briefed the motions, and the matter is ripe for the

Court’s consideration.1 Having fully reviewed the record herein, the Court finds that the

facts and legal arguments are adequately presented in the briefs and record. Accordingly,

in the interest of avoiding further delay, and because the Court conclusively finds that the


        1
          This matter was referred to the undersigned Magistrate Judge by District Judge Edward J.
Lodge, and resolution of the motions was postponed until the Court issued its September 3, 2010
memorandum order deciding several post-trial motions. (Mem. Order at 3, n.2, Dkt. 202; Order, Dkt.
219.) Although an appeal was filed in this matter, the Court has jurisdiction to rule on motions for
attorney fees even where a notice of appeal has been filed and not yet decided. See League of Women
Voters of Calif. v. Fed. Commc’ns Comm’n, 751 F.2d 986, 990 (9th Cir. 1985).

REPORT AND RECOMMENDATION - 1
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 2 of 12




decisional process would not be significantly aided by oral argument, the motions will be

decided on the record before this Court without oral argument. Dist. Idaho Loc. Civ. R.

7.1(d). After carefully considering the parties’ briefs, arguments, and applicable case law,

the Court recommends that both fee motions be denied and neither party should be

awarded their attorneys’ fees and costs in this matter. Because the Court did not rely upon

the affidavits that were the subject of Plaintiff’s Motion to Strike, the Court recommends

denial of the motion as moot.

                                    BACKGROUND

       Plaintiffs Darel Hardenbrook, Paul Gooch, and Robert Orloff initiated this action

on November 2, 2007, by filing a Complaint in state court against the Defendant, United

Parcel Service, Co. (“UPS”), alleging retaliation in violation of Idaho public policy,

breach of contract, and breach of the implied covenant of good faith and fair dealing.

(Dkt. 1, Att. 2.) On December 5, 2007, UPS removed the case to this Court on diversity

grounds. (Dkt. 1.) The dispute between the parties relates to employment actions taken by

UPS as to each of the Plaintiffs; Mr. Gooch and Mr. Hardenbrook were terminated from

their employment and Mr. Orloff was demoted.

       The Plaintiffs’ complaint alleged that UPS’ employment actions against them were

made in retaliation to their inquiries regarding the Department of Transportation’s

(“DOT”) hours of service regulations. (Dkt. 1, Att. 2, p. 2.) The DOT regulations prohibit

drivers of commercial vehicles from driving if they have exceeded a specified number of



REPORT AND RECOMMENDATION - 2
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 3 of 12




work hours for a prescribed period of time. UPS denied the allegations and on June 15,

2009, filed a Motion for Summary Judgment. (Dkt. 40.) Also on June 15, 2009, Plaintiffs

filed a motion to amend their Complaint to add a claim for punitive damages. (Dkt. 37.)

        On October 26, 2009, the Court entered an Order denying Plaintiffs’ motion to

amend their complaint and add a punitive damages claim. (Dkt. 79.) Then, on December

8, 2009, this Court entered an Order granting in part and denying in part the Motion for

Summary Judgment. (Dkt. 84.) The Court’s Order dismissed all of Mr. Orloff’s claims

against UPS and dismissed two of the three claims raised by both Mr. Gooch and Mr.

Hardenbrook. Eventually, Mr. Gooch’s claims were resolved by the parties2 and only Mr.

Hardenbrook’s claim for wrongful termination in violation of public policy remained.

(Dkt. 97.) Thereafter, trial began on January 12, 2010. The jury returned a Special Verdict

on January 21, 2010, in favor of Mr. Hardenbrook awarding a total amount of damages of

$1,476,367.00. (Dkt. 142.)

        Numerous post-trial motions were filed, including UPS’s Motion to Alter or

Amend the Judgment requesting a remittitur of the damage award. (Dkt. 157.) On

September 3, 2010, the Court issued an Order finding the damages awarded by the Jury to

be grossly excessive, and reducing the damage award to a total amount of $713,169.00.

(Dkt. 203).




        2
         The parties stipulated to dismissal of Paul Gooch’s claims against UPS with prejudice, with
each party to bear their own costs and attorneys’ fees. (Dkt. 98.)

REPORT AND RECOMMENDATION - 3
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 4 of 12




       Prior to the issuance of the Court’s September 3, 2010 Order, both parties filed

motions for attorney fees, arguing that pursuant to Idaho Code § 12-120(3), they are each

prevailing parties and entitled to an award of attorney fees. Based upon the Jury’s award

of $1,476,367.00, Hardenbrook argues that, as the prevailing party and pursuant to a

contingency fee agreement, Hardenbrook should be awarded 40% of the damage award,

or $590,546.80, in attorney fees. UPS argues that, even if the Court awarded fees to

Hardenbrook, the requested fees based upon a 40% contingency fee agreement are

unreasonable.

       UPS alternatively asserts it prevailed and requests $338,449.16 in fees against

Orloff, and $332,004.16 in fees against Hardenbrook. UPS explained that, although

Plaintiffs’ claims were intertwined, the fees it requests represent the total amount of fees

attributable to the defense of the claims specifically attributable to the respective

Plaintiffs, as well as a pro rata share of fees attributable to the defense of all three

Plaintiffs’ claims collectively. In addition to its argument disputing who prevailed,

Hardenbrook argues that the fees requested by UPS are unreasonable.

                                        DISCUSSION

1. Idaho Code § 12-120(3)

       Idaho law governs the award of attorney fees in this matter because federal courts

follow state law as to attorney fees in diversity actions. See Interform Co. v. Mitchell, 575

F.2d 1270, 1270 (9th Cir.1978) (applying Idaho law). Pursuant to Idaho Code


REPORT AND RECOMMENDATION - 4
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 5 of 12




§ 12-120(3), the prevailing party is entitled to an award of attorney fees when a

commercial transaction is the gravamen of the lawsuit. See Erickson v. Flynn, 64 P.3d

959 (Idaho Ct. App. 2002). The Idaho Supreme Court has held that § 12-120(3) applies

when the contractual basis for fees involves an employment agreement as well as claims

related to the employment relationship. Jenkins v. Boise Cascade Corp., 108 P.3d 380,

391 (Idaho 2005); Thomas v. Medical Center Physicians, P.A., 61 P.3d 557, 568 (Idaho

2002). The parties agree upon these legal principles, but disagree on which party is the

prevailing party.

       “The determination of who is a prevailing party is committed to the sound

discretion of the trial court.” Bream v. Benscoter, 79 P.3d 723, 727 (Idaho 2003); see also

Idaho R. Civ. P. 54(d)(1)(B). In Idaho, Idaho R. Civ. P. 54(d)(1)(B) sets forth the

governing legal standards on the prevailing party issue. There are three factors the trial

court must consider when determining which party, if any, prevailed: (1) the final

judgment or result obtained in relation to the relief sought; (2) whether there were

multiple claims or issues between the parties; and (3) the extent to which each of the

parties prevailed on each of the claims or issues. State v. Jardine, 940 P.3d 1137, 1140

(Idaho 1997).

       The Court in its discretion may determine that a party prevailed in part and did not

prevail in part, and may apportion the costs and fees between and among the parties in a

fair and equitable manner after considering all of the issues and claims involved in the



REPORT AND RECOMMENDATION - 5
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 6 of 12




action and the resultant judgment or judgments obtained. Eighteen Mile Ranch, LLC v.

Nord Excavating & Paving, Inc., 117 P.3d 130, 133 (Idaho 2005); Nguyen v. Bui, 191

P.3d 1107, 1112 (Idaho Ct. App. 2008). When both parties are successful, it is within the

Court’s discretion to decline to award attorney fees to either side. Crump v. Bromley, 219

P.3d 1188, 1190 (Idaho 2009). To determine the parties’ relative success, the court “may

consider both the presence and absence of awards of affirmative relief in determining

which party prevailed either in whole or in part.” Chadderdon v. King, 659 P.2d 160, 166

(Idaho Ct. App. 1983.) Of particular relevance here is the Idaho Supreme Court’s

observation that, “[i]n determining which party prevailed in an action where there are

claims and counterclaims between opposing parties, the court determines who prevailed

‘in the action.’ That is, the prevailing party question is examined and determined from an

overall view, not a claim-by-claim analysis.” Eighteen Mile Ranch, 117 P.3d at 133.

       When multiple claims and counterclaims are involved, this Court has distinguished

between two lines of Idaho cases deciding attorney fee issues. J.R. Simplot Co., Inc. v. H

& H Transportation, Inc., No. CV05-397-S-EJL, 2007 WL 1238737 *3 (D. Idaho April

26, 2007). In cases involving claims and counterclaims over the same underlying facts or

contract, the court should determine the prevailing party in the overall action, not on a

claim-by-claim basis. J.R. Simplot Co., Inc., 2007 WL 1238737 at *3 (citing Eighteen

Mile Ranch, LLC, 117 P.3d 130 and Internat’l Eng. Co., Inc. v. Daum Industries, Inc.,

630 P.2d 155 (Idaho 1981)). Alternatively, if the claims and counterclaims are distinct

and discrete, the second line of cases indicates the court must analyze the claims

REPORT AND RECOMMENDATION - 6
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 7 of 12




separately to determine who is the prevailing party. Id. (citing Rockefeller v. Grabow, 82

P.3d 450 (Idaho 2003); Bream v. Benscoter, 79 P.3d 723 (Idaho 2003); Ramco v. H-K

Contractors, Inc., 794 P.3d 1381 (1990)).

       UPS argues it prevailed because it successfully defended itself against five of the

six claims plead by Orloff and Hardenbrook in the complaint. While it is true that each

Plaintiff asserted three causes of action, in reality each Plaintiff had but one claim plead

under alternative theories of relief. Plaintiffs did not claim specific damages attributable

to any particular cause of action, since their claims arose generally out of their

employment relationships with UPS. Nor did Plaintiffs aggregate their damages because

they asserted three theories of recovery. In other words, each Plaintiff sought one million

dollars in damages under three alternative theories arising out of his employment

agreement with UPS.

       The Court therefore finds that UPS’s argument that it “prevailed” on the majority

of claims because only one of Hardenbrook’s three claims for relief proceeded to trial,

and Orloff’s claims were dismissed, to be unpersuasive. See Nalen v. Jenkins, 741 P.2d

366, 369 (Idaho Ct. App. 1987) (finding error where the trial court had, for the purpose of

an award of attorney fees, split a single “claim” for relief into prevailing and

nonprevailing “theories”). There was instead one overall claim for relief asserted by each

Plaintiff under alternative theories of recovery. An award of attorney fees is not to be




REPORT AND RECOMMENDATION - 7
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 8 of 12




affected by “the ratio of prevailing ‘theories’ to nonprevailing ‘theories.’” Nalen, 741

P.2d at 369.

       Nor is the size of the parties’ respective recoveries determinative. UPS claims

victory because the amount of damages it avoided is greater than the damages ultimately

awarded to Hardenbrook. UPS argues that it successfully defended itself against Orloff’s

one million dollar damage claim, was able to reduce Hardenbrook’s claim from

$1,476,367.00 to an award of $713,169.00, and defeated Plaintiffs’ motion to add a claim

for punitive damages. However, Hardenbrook basically prevailed on the principal

complaint he and the other two Plaintiffs pursued against UPS. See Nguyen v. Bui, 191

P.3d 1107, 1113 (Idaho Ct. App. 2008) (explaining that where the plaintiff “basically

prevails” on his principal complaint, the court is not required to apportion fees and citing

Decker v. Homeguard Sys., 666 P.2d 1169 (Idaho Ct. App. 1990)). The plaintiff who

receives less than the amount of damages initially requested or awarded by the jury is not

automatically penalized based upon the size of the relative recovery. See Lickley v. Max

Herbold, Inc., 984 P.2d 697, 702 (Idaho 1999) (holding that the trial court did not abuse

its discretion in awarding plaintiff fees despite recovery of less than half of the damages

initially requested when he had prevailed on the greatest issue in the case); Gilbert v. City

of Caldwell, 732 P.2d 344, 368 (Idaho Ct. App. 1987) (holding that although the plaintiff




REPORT AND RECOMMENDATION - 8
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 9 of 12




received only $7,500 on its $160,000 claim for damages, the trial court did not abuse its

discretion in determining that the plaintiffs were the prevailing party).3

        Rather, when viewed as a whole, the Court in the exercise of its discretion finds

that neither party prevailed. The Court is not compelled to make a discrete award of fees

on each claim. Nguyen v. Bui, 191 P.3d 1107, 1113 (Idaho Ct. App. 2008) (citing Chenery

v. Agri-Lines Corp, 682 P.2d 640, 646 (Idaho Ct. App. 1984)). For UPS, avoiding liability

is as good for a defendant as winning a money judgment is for a plaintiff. LaPeter v.

Canada Life Ins. of Am., No. CV-06-121-S-BLW, 2007 WL 4287489 *1 (D. Idaho Dec.

4, 2007) (citing Eighteen Mile Ranch, LLC, 133 117 P.3d at 133). UPS clearly prevailed

in its defense of the claim for damages asserted by Orloff. UPS settled, and avoided a

trial, with respect to the claim asserted by Gooch. In addition, UPS was able to

successfully defend against the plaintiffs’ attempt to add a claim for punitive damages,

and to reduce the final amount awarded by the Jury to Hardenbrook. On the other hand,

Hardenbrook successfully won a jury verdict against UPS on the main issue in the case.




        3
           UPS relies upon Chadderdon v. King, 659 P.2d 160, 165 (Idaho Ct. App. 1983), for its “size of
recovery” argument. However, Chadderdon does not stand for the bright line rule that the size of a party’s
recovery, including the amount of liability avoided, makes one a prevailing party. In Chadderdon, the
plaintiffs sued their contractor for breach of contract in the amount of $60,000. The contractor
counterclaimed for $9,588. The jury determined neither party was entitled to affirmative relief. In
awarding attorney fees to the contractor, the trial court determined that both parties had prevailed in part,
but the contractor had “prevailed on the ‘main issue of the case’ which consumed the majority of the
trial,” which decision was upheld on appeal. Chadderdon, 659 P.2d at 165. In essence, the trial court in
Chadderdon determined the award of fees not based upon the relative “size” of recovery, but rather on the
overall view of the case. By determining that the plaintiff was not entitled to damages for breach of the
contract, the contractor successfully defended himself on the main issue in the case.

REPORT AND RECOMMENDATION - 9
     Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 10 of 12




        Had Orloff and Hardenbrook pursued their claims separately, it is apparent that

UPS would have been declared the victor in Orloff’s case,4 while Hardenbrook would

have been declared the victor in his case against UPS, and both UPS and Hardenbrook

would have been awarded their respective attorneys’ fees. But considering the joint

representation by one law firm of all three Plaintiffs, the difficulty in apportioning fees

attributable to one plaintiff versus the other,5 and had all things been equal under such a

scenario,6 the attorney fees awarded in one case would have negated the fees awarded in

the other case. Given the joint representation of Plaintiffs, the nucleus of facts involving

the same course of conduct alleged by all Plaintiffs, and the singular representation of

Defendant, both winning and losing Plaintiffs and Defendant necessarily incurred the fees

claimed by both sides.

        And the Court cannot say that the result here, the award of damages to only one

Plaintiff in relation to the overwhelming relief sought and avoided by UPS, clearly favors



        4
          In their brief, Plaintiffs’ counsel conceded that “Orloff does not dispute that, based on the
court’s decision on UPS’s motion for summary judgment, that UPS is, at this time, the prevailing party
against Orloff” and that UPS “is entitled to an award of reasonable attorney fees incurred in defending the
claims brought by Robert Orloff.” (Pls.’ Mem. in Opposition at 5, Dkt. 171.)
        5
          Even counsel in this case cannot decide on a methodology to apportion fees between the
respective plaintiff’s individual claims. All of the claims were related and involved the same nucleus of
events and actors.
        6
           This would assume each side’s attorneys billed equivalent hourly rates, and expended the same
amount of hours. In this case, UPS’s attorneys had rates ranging from $175–$375 per hour as compared to
Plaintiffs’ attorneys, whose rates were $150–$200 per hour. (See Pls.’ Mem. in Opposition at 11, Dkt.
171.) Plaintiffs asserted that, had their attorneys charged the hourly fees charged by UPS’s counsel, the
contingent fee amount of $590,546.80 based upon the Jury’s award would be “substantially equal to the
hourly fee amount” claimed by UPS’s attorneys. (Pls.’ Reply Mem. at 6, Dkt. 180.)

REPORT AND RECOMMENDATION - 10
    Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 11 of 12




one side versus the other. In the instant case, viewing the matter as a whole, and in the

exercise of the Court’s discretion, there is no one prevailing party or side. Considering all

of the issues and claims involved, and the end result of the judgment, it would be fair and

equitable for the parties to pay their own costs and attorney fees.

2. Costs

       With respect to the costs claimed, Fed. R. Civ. P. 54(d)(1) permits costs to be

awarded to the prevailing party. In light of the analysis above, the Court recommends that

the Clerk be directed to deny the parties’ respective bills for costs. (Dkt. 190, 191.)



                                      CONCLUSION

       Based upon the foregoing, the Court concludes neither side prevailed, and that the

parties are not entitled to attorney fees based upon the theories presented to the Court.

Therefore, the Court in the exercise of its discretion is recommending that both motions

be denied, and costs be disallowed by the Clerk of the Court. Because of its decision, the

Court did not reach the arguments of the parties concerning the reasonableness of the

claimed fees, or Hardenbrook’s Motion to Strike the declarations of Mr. Boardman and

Mr. Geston, which declarations were submitted to support the reasonableness of Holland

and Hart’s hourly rates.




REPORT AND RECOMMENDATION - 11
    Case 1:07-cv-00509-EJL-CWD Document 228 Filed 01/18/11 Page 12 of 12




                                  RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED that:

       1)     Plaintiff’s Motion for Attorney Fees (Dkt. 153) be DENIED.

       2)     Defendant’s Motion for Attorney Fees (Dkt. 161) be DENIED.

       3)     Plaintiff’s Motion to Strike (Dkt. 184) be DENIED AS MOOT.

       The Clerk is further instructed to deny the parties’ respective bills of costs. (Dkt.

162, 163.)

        Written objections to this Report and Recommendation must be filed within
fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Dist. Idaho L. Rule 72.1(b), or
as a result of failing to do so, that party may waive the right to raise factual and/or legal
objections to the United States Court of Appeals for the Ninth Circuit.

                                                   DATED: January 18, 2011



                                                   Honorable Candy W. Dale
                                                   Chief United States Magistrate Judge




REPORT AND RECOMMENDATION - 12
